                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
v.                                                 )             No. 3:07-CR-44
                                                   )             (PHILLIPS/SHIRLEY)
DANIEL RAMSEY,                                     )
                                                   )
                       Defendant.                  )


                                      DETENTION ORDER

               This matter came before the undersigned on June 27, 2007, for a scheduled detention

hearing. The Court rendered it opinion as to the detention hearing on June 28, 2007. Assistant

United States Attorney David Jennings was present representing the government. Attorney Doug

Trant was present representing Defendant Daniel Ramsey. The defendant was also present.

               In the Court’s oral ruling, a complete review and analysis of the parties’ positions,

issues, and facts were stated. That specific and detailed oral ruling is attached hereto and made a

part of this Order as if stated herein verbatim.

               For the reasons stated therein, I find, pursuant to 18 U.S.C. § 3142, that (1) the

government has met the burden of establishing by a preponderance of the evidence that Defendant

is a flight risk and a risk not to appear as required if released, and (2) the government has met the

burden of establishing by clear and convincing evidence that Defendant Robinson’s release would

pose a danger to the community. Furthermore, the Court finds that there are no conditions or

combination of conditions of release that would reasonably assure the Court that Defendant would

appear as ordered and not pose a danger to the safety of any other person or the community.




Case 3:07-cr-00044-TAV-DCP            Document 51       Filed 07/11/07      Page 1 of 2      PageID
                                            #: 29
               It is therefore ORDERED that the defendant, Daniel Ramsey, be detained. He is

committed to the custody of the Attorney General or his designated representative for confinement

in a correction facility separate to the extent practicable from persons awaiting sentencing or serving

sentences or being held in custody pending appeal. The Defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel. Upon order of this Court or a Court of

the United States or upon request of the attorney for the government, the person in charge of the

corrections facility shall deliver the Defendant to the United States Marshals for the purpose of an

appearance in connection with a Court proceeding.

               IT IS SO ORDERED.

                                                      ENTER:



                                                        s/ C. Clifford Shirley, Jr.
                                                      United States Magistrate Judge




                                                  2


Case 3:07-cr-00044-TAV-DCP            Document 51         Filed 07/11/07      Page 2 of 2      PageID
                                            #: 30
